        Case 1:21-cv-11558-LTS Document 347-2 Filed 06/01/23 Page 1 of 1




                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA, et al.,

                                Plaintiffs,

                        v.                                      Civil No. 21-11558

AMERICAN AIRLINES GROUP, INC. and
JETBLUE AIRWAYS CORPORATION,

                                Defendants.



                                              ORDER

       Upon consideration of the Plaintiff States’ Consent Motion to Extend Time to Move for

Attorney’s Fees pursuant to Fed. R. Civ. P. 6(b)(1) and 54(d), it is this __________ day of

___________________, 2023.

       ORDERED that the Motion is GRANTED; and it is further

       ORDERED that Plaintiff States will have until thirty (30) days following the Court’s

Final Judgment and Order Entering the Permanent Injunction, or in the case of an appeal, by

either American Airlines Group Inc. or JetBlue Airways Corporation, twenty-one (days) after

final resolution of the appeal to file their motion for attorney’s fees and costs.

SO ORDERED.

                                       ______________________________________
                                       Leo T. Sorokin
                                       United States District Court Judge
